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10                         UNITED STATES DISTRICT COURT
11                        EASTERN DISTRICT OF CALIFORNIA
12

13   JOSEPH L. JOHNSON; CYNTHIA A.         No.   2:13-cv-01072-JAM-KJN
     MITCHELL, individually and as
14   successor in interest to
     Mario Romero; N.R.,
15   individually and as successor         ORDER GRANTING DEFENDANTS’
     in interest to Mario Romero;          MONELL MOTION FOR SUMMARY
16   D.M., a minor; D.M., a minor;         JUDGMENT
     AHN KHE HARRIS; AHN LOC
17   HARRIS; CYNQUITA MARTIN,
18                  Plaintiffs,
19         v.
20   CITY OF VALLEJO, a municipal
     entity; DUSTIN JOSEPH; SEAN
21   KENNEY; JOSEPH KREINS,
     individually and in his
22   official capacity as Chief of
     the Vallejo Police
23   Department,
24                  Defendants.
25

26         This action arises from a police shooting incident that

27   occurred on September 2, 2012 in Vallejo, California that

28   resulted in the death of Mario Romero (“Decedent”) and the injury
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 1   of Joseph Johnson (“Johnson”).        Two complaints were filed

 2   separately but later consolidated by this Court (Doc. #2, 19).

 3   Defendants the City of Vallejo (“the City”); Joseph Kreins

 4   (“Kreins”), Chief of the Vallejo Police Department (“VPD”) at the

 5   time of the incident; and VPD Officers Dustin Joseph (“Joseph”)

 6   and Sean Kenney (“Kenney”) (collectively “Defendants”) filed five

 7   separate motions for summary judgment (Doc. #63-67).           A hearing

 8   on these motions was held on April 8, 2015.          This Order addresses

 9   only the fifth motion for summary judgment (which the Court took
10   under submission) (“the Monell MSJ”), in which Defendants
11   specifically challenge the Plaintiffs’ claims under Monell v.

12   Dep't of Soc. Servs. of City of New York, 436 U.S. 658, 691-95

13   (1978) (“Monell”).

14         At the hearing, Plaintiffs N.R., Ahn Khe Harris, Ahn Loc

15   Harris, and Cynquita Martin (“the Martin and Harris Plaintiffs”)

16   all conceded that as a result of the Court’s ruling on the other

17   motions, they no longer could pursue their Monell claims, as they

18   had no legal basis for doing so.          Therefore, this Order discusses

19   the Monell claims as stated in the complaint filed by Plaintiff
20   Cynthia Mitchell, individually and on Decedent’s behalf, and

21   Johnson.

22

23                   I.   FACTUAL AND PROCEDURAL BACKGROUND

24         The following facts are undisputed.        Johnson’s Response to

25   Defendants’ Statement of Undisputed Facts (Doc. #77-1);

26   Mitchell’s Response to Defendants’ Statement of Undisputed Facts

27   (Doc. #81-1); Defendants’ Response to Mitchell’s Separate

28   Statement of Facts (Doc. #92-1); Defendants’ Response to
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 1   Johnson’s Separate Statement of Facts (Doc. #93-1); Martin &

 2   Harris Plaintiffs’ Response to Defendants’ Statement of

 3   Undisputed Facts (Doc. #80).

 4         In the early morning of September 2, 2012, Kenney and Joseph

 5   (collectively “the officers”) were responding to a pending call

 6   related to a reported burglary.        The officers spotted a white

 7   Thunderbird occupied by Decedent and Johnson.          Kenney had

 8   received a briefing sometime prior to this event of a vehicle

 9   similar in description to the Thunderbird as being involved in a
10   drive-by shooting.      The officers pulled up to the Thunderbird,
11   stopping in the middle of the street facing the front of the
12   Thunderbird and within 5-15 feet of it.         The Martin and Harris
13   Plaintiffs resided in the house directly facing the scene of this
14   incident and were inside at the time of the shooting.
15         It is at this point, chronologically, that the versions of
16   events, and evidence in support thereof, are disputed.            What is
17   not disputed is that during the encounter between Decedent,
18   Johnson and the officers that followed at least 3 rounds were
19   fired into the Thunderbird’s driver-side door and window and 23
20   rounds were fired into the Thunderbird’s windshield by the

21   officers.    Johnson was injured as a result of the shooting.

22   Decedent died as a result, receiving bullet wounds in his arms,

23   wrist area and hands region among other areas.

24         Two very distinct and competing versions of events are

25   evident in the record starting from the time the officers pulled

26   up to the Thunderbird until the end of the incident.           One version

27   is that primarily put forth by the Defendants and the other a

28   version put forth by Plaintiffs.
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 1          A.     Defendants’ Version

 2          Kenney stopped his vehicle approximately 10-15 feet away

 3   from the Thunderbird, not obstructing its path.          Kenney Depo.

 4   169:18-22. Upon the officers stopping their car, Decedent opened

 5   the Thunderbird’s driver-side door and started to run away.

 6   Kenney Depo. 79:10-23. Joseph testified that he noticed Decedent

 7   was holding his waistband and observed the butt of a gun tucked

 8   into the waistband.      Joseph Depo. 104:17-25.       Decedent then

 9   “spun around and went back towards his vehicle” with a handgun in
10   his right hand.     Joseph Depo. 107:23-112:1.
11          At some point, the officers began shouting “show me your

12   hands” to Decedent and Johnson.        Kenney Depo. 101:21-102:3;

13   Joseph Depo. 118:2-119:25. Johnson complied but Decedent did not.

14   Id.    Fearing for the safety of Kenney, Joseph then began firing

15   at Decedent.     Joseph Depo. 107:23-112:1. Fearing for his and

16   Joseph’s safety, Kenney also began firing at Decedent.            Kenney

17   Depo. 98:15-99:7. Eventually Decedent complied and puts his hands

18   up, while Johnson still had his hands up and nearly sticking out

19   his window.     Kenney Depo. 107:17-108:14.
20          After radioing for backup, Kenney and Joseph observed

21   Decedent drop his hands down and start to bring them up in a

22   shooting position.      Kenney Depo. 113:25-119:12; Joseph Depo.

23   124:15-125:7, 135:21-137:19.        Kenney responded by firing 7 or 8

24   rounds at Decedent, and Joseph fired 4-6 shots at Decedent.            Id.

25          Decedent then complied again with the commands to raise his

26   hands.      Kenney 123:2-124:6.   However, shortly thereafter Decedent

27   dove down to the center console, to get what Kenney figured was a

28   gun.    Id.   Kenney responded to the “furtive reaction” by firing
                                           4
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 1   his entire magazine, about 12-13 rounds.         Id.

 2

 3         B. Plaintiffs’ Version

 4         Upon pulling up to within 5 feet of the Thunderbird and

 5   facing it at an angle, the police car shined its spotlight into

 6   the Thunderbird.     Martin Depo. 135:17-136:8; Nagle Decl. Exhibit

 7   S (filed under seal, Doc. #84-6).         The police car’s doors “flew

 8   open,” the officers shouted “just put your, you know, hands,”

 9   then the two officers began to open fire on the Thunderbird.
10   Johnson Depo. 140:10-24; Doc. #93-1, Facts 19-21.           In response to
11   the officers’ demands, both Decedent and Johnson raised their
12   hands.    Johnson Depo. 140:25-141:16; Doc. #93-1, Facts 4-5.
13   After shots began, Decedent called out to the officers, “we got
14   our hands up, like, so stop shooting.”         Johnson Depo. 140:10-
15   141:16. Johnson did not hear any further commands from the
16   officers.    Id.   Decedent never exited the vehicle during the
17   incident.    Doc. #93-1 #33; Johnson Depo. 144:6-13.

18         Decedent never had a gun during the incident.          Johnson Depo.

19   152:11-13; Doc. #93-1 #36.       Plaintiffs assert the only weapon
20   found in the car was a pellet gun with no fingerprints from

21   either Decedent or Johnson;       Defendants do not contend they found

22   a weapon with either Decedent or Johnson’s fingerprints.              Kenney

23   testified that he never saw a weapon during or before the

24   shooting, only after the conclusion.         Kenney Depo. 215:4-10.

25   Joseph testified that he and Kenney did not have any verbal

26   communication with each other regarding a gun possessed by

27   Decedent during the incident.       Joseph Depo. 140:4-7.

28         At one point, Kenney reloaded his weapon and approached
                                           5
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 1   closer to the car.      Doc. #93-1, Fact 24.     Kenney then climbed

 2   onto the hood of the Thunderbird right in front of Johnson.

 3   Johnson Depo. 144:22-145:18. He was standing on the hood and

 4   began firing down into the car.         Id.

 5          Johnson was hit by one of the bullets, which is still lodged

 6   in his sacrum.     Johnson Depo. 61:1-8; Doc. #93-1, Fact 44.

 7   Decedent died as the result of sustaining 30 gunshot wounds.

 8   Nagle Decl. Exhibit BB (filed under seal, Doc. #84-11).               Decedent

 9   had 3 gunshot wounds to the head, 5 to the neck, 6 to the torso,
10   6 to the right upper extremity, 9 to the left upper extremity,
11   and 1 to the left thigh.        Id.    Johnson submitted an answer to an
12   interrogatory stating he suffered and continues to suffer extreme

13   emotional distress caused by the Defendants as a result of this

14   incident.    Doc. #93-1, Fact 61; Nagle Decl. Exhibit AA.

15          After the initial shots were fired, Ahn Loc Harris went to

16   and was watching the incident from a window inside her residence.

17   She saw Johnson and Decedent inside the car with their hands up.

18   Ahn Loc Harris Depo. 99:11-103:18; Doc. #93-1 #1, 7.           She saw

19   Kenney shoot at least 6 shots into the window after climbing onto
20   the hood of the car.      Id.    Decedent collapsed onto Johnson,

21   taking his “last breath.”        Id.   Kenney shot “probably about two

22   more times” after Decedent collapsed.         Id.

23          Ahn Khe Harris and Martin came to the window as well.             Ahn

24   Loc Harris Depo. 103:19-104:17. When Martin got to the window,

25   she saw Kenney standing in front of the Thunderbird reloading his

26   gun.   Martin Depo. 134:18-135:7. Martin started banging on the

27   window, but Kenney did not look at her as he climbed onto the

28   hood of the car and began shooting again.           Id.   Martin finally
                                             6
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 1   got her window open and started yelling at Kenney.           Id.      Kenney

 2   looked over at Martin and she said, “those are not - - you’ve got

 3   the wrong people, those are not those type of people.”             Id.

 4   Kenney responded, saying “what the fuck you think I’m supposed to

 5   do.”    Id.   Kenney continued to shoot while he was talking and

 6   looking at Martin.      Id.; Martin Depo. 145:15-146:5. Looking into

 7   the car, Martin saw Johnson passed out and Decedent laid over

 8   onto Johnson’s lap.      Martin Depo. 143:4-16; Doc. #93-1 #37.

 9   Martin saw Kenney shooting into the car, “trying to aim for
10   [Johnson’s] head.”      Id.
11          After the shooting stopped, the officers pulled Decedent out

12   of the car “threw him on the ground and handcuffed his hands

13   behind his back.”      Martin 148:25-149:21.

14

15                                 II.   OPINION

16          A.     Summary Judgment Standard

17          The Federal Rules of Civil Procedure provide that “a court

18   shall grant summary judgment if the movant shows there is no

19   genuine issue of material fact and that the movant is entitled to
20   judgment as a matter of law.”       Fed. R. Civ. P. 56(a).      A party

21   asserting that a fact cannot be disputed must support the

22   assertion by citing to particular parts in the record, or by

23   showing that the materials cited do not establish the presence of

24   a genuine dispute.      Fed. R. Civ. P. 56(c)(1)(A)-(B).       The purpose

25   of summary judgment “is to isolate and dispose of factually

26   unsupported claims or defenses.”          Celotex Corp. v. Catrett, 477

27   U.S. 317, 323-24 (1986).

28          The moving party bears the initial responsibility of
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 1   informing the district court of the basis for its motion, and

 2   identifying those portions of “the pleadings, depositions,

 3   answers to interrogatories, and admissions on file, together with

 4   the affidavits, if any,” which it believes demonstrate the

 5   absence of a genuine issue of material fact.          Celotex Corp., 477

 6   U.S. at 323 (quoting Fed. R. Civ. P. 56(c)).          That burden may be

 7   met by “‘showing’- that is, pointing out to the district court-

 8   that there is an absence of evidence to support the non moving

 9   party’s case.”     Fairbank v. Wunderman Cato Johnson, 212 F.3d 528,
10   531 (9th Cir. 2000) (quoting Celotex Corp., 477 U.S. at 325).                If

11   the moving party meets its burden with a properly supported

12   motion, the burden shifts to the opposing party.           Id.   The

13   opposition “may not rest upon the mere allegations or denials of

14   the adverse party’s pleading,” but must provide affidavits or

15   other sources of evidence that “set forth specific facts showing

16   that there is a genuine issue for trial.”         Devereaux v. Abbey,

17   263 F.3d 1070, 1076 (9th Cir. 2001) (quoting Fed. R. Civ. P.

18   56(e)).

19         The adverse party must show that the fact in contention is
20   material and the issue is genuine.        Anderson v. Liberty Lobby,

21   Inc., 477 U.S. 242, 248 (1986).        A “material” fact is a fact that

22   might affect the outcome of the suit under governing law.              Id.    A

23   fact issue is “genuine” when the evidence is such that a

24   reasonable jury could return a verdict for the non-moving party.

25   Villiarmo v. Aloha Island Air, Inc., 281 F.3d 1054, 1061 (9th

26   Cir. 2002).     However, uncorroborated and self-serving testimony

27   alone does not create a genuine issue of fact.          Id.   The Court

28   must view the facts and draw inferences in the manner most
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 1   favorable to the non-moving party.        Matsushita Elec. Indus. Co.

 2   v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

 3         The mere existence of a scintilla of evidence in support of

 4   the non-moving party’s position is insufficient: “There must be

 5   evidence on which the jury could reasonably find for [the non-

 6   moving party].”      Anderson, 477 U.S. at 252.      This Court thus

 7   applies to either a defendant’s or plaintiff’s motion for summary

 8   judgment the same standard as for a motion for directed verdict,

 9   which is “whether the evidence presents a sufficient disagreement
10   to require submission to a jury or whether it is so one-sided
11   that one party must prevail as a matter of law.”           Id.
12         B.    Claims

13         Defendants filed the Monell MSJ addressing the Monell claims

14   brought by Johnson and Mitchell and found in the 4th cause of

15   action in their complaint.       Defendants seek summary judgment or

16   in the alternative partial summary judgment of those claims based

17   on Monell v. Dep't of Soc. Servs. of City of New York, 436 U.S.

18   658 (1978).

19               1.    Monell Standard
20         To create municipal liability under § 1983, the

21   constitutional violation must be caused by “a policy, practice,

22   or custom of the entity,” Dougherty v. City of Covina, 654 F.3d

23   892, 900 (9th Cir. 2011), or be the result of an order by a

24   policy-making officer, see Gibson v. County of Washoe, 290 F.3d

25   1175, 1186 (9th Cir. 2002).       See also Tsao v. Desert Palace,

26   Inc., 698 F.3d 1128, 1139 (9th Cir. 2012).          The Ninth Circuit has

27   discussed the proper basis for Monell claims:

28         In Monell, the Supreme Court held that municipalities
                                      9
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 1          may be held liable as “persons” under 42 U.S.C. § 1983,
            but cautioned that a municipality may not be held
 2          liable for the unconstitutional acts of its employees
            solely on a respondeat superior theory. 436 U.S. at
 3          691. Rather, the Supreme Court has “required a
            plaintiff seeking to impose liability on a municipality
 4          under § 1983 to identify a municipal ‘policy’ or
            ‘custom’ that caused the plaintiff's injury.” Bd. of
 5          Cnty. Comm'rs v. Brown, 520 U.S. 397, 403 (1997)
            (citing Monell, 436 U.S. at 694; Pembaur v. Cincinnati,
 6          475 U.S. 469, 480–81 (1986); City of Canton v. Harris,
            489 U.S. 378, 389 (1989)). In justifying the
 7          imposition of liability for a municipal custom, the
            Supreme Court has noted that “an act performed pursuant
 8          to a ‘custom’ that has not been formally approved by an
            appropriate decisionmaker may fairly subject a
 9          municipality to liability on the theory that the
            relevant practice is so widespread as to have the force
10          of law.” Id. at 404 (citing Monell, 436 U.S. at 690–
            91).
11

12
      Hunter v. Cnty. of Sacramento, 652 F.3d 1225, 1232-33 (9th Cir.
13
      2011).
14
            “Liability for improper custom may not be predicated on
15
      isolated or sporadic incidents; it must be founded upon practices
16
      of sufficient duration, frequency and consistency that the
17
      conduct has become a traditional method of carrying out policy.”
18
      Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996) holding
19
      modified by Navarro v. Block, 250 F.3d 729 (9th Cir. 2001).
20
      However, the Ninth Circuit has “long recognized that a custom or
21
      practice can be ‘inferred from widespread practices or “evidence
22
      of repeated constitutional violations for which the errant
23
      municipal officers were not discharged or reprimanded.”’”
24
      Hunter, 652 F.3d at 1233-34 (quoting Nadell v. Las Vegas Metro.
25
      Police Dep't, 268 F.3d 924, 929 (9th Cir. 2001)).          “[E]vidence of
26
      inaction—specifically, failure to investigate and discipline
27
      employees in the face of widespread constitutional violations—can
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 1    support an inference that an unconstitutional custom or practice

 2    has been unofficially adopted by a municipality.”          Hunter, at

 3    1234 n.8 (emphasis in original).

 4          More relevant here, courts have found that “in some

 5    circumstances a policy of inaction, such as a policy of failing

 6    to properly train employees, may form the basis for municipal

 7    liability.”    Id.   “[A] local government's decision not to train

 8    certain employees about their legal duty to avoid violating

 9    citizens' rights may rise to the level of an official government
10    policy for purposes of § 1983.”       Connick v. Thompson, 131 S. Ct.
11    1350, 1359 (2011).      However, to satisfy § 1983 for a failure to

12    train claim, “a municipality's failure to train its employees in

13    a relevant respect must amount to ‘deliberate indifference to the

14    rights of persons with whom the [untrained employees] come into

15    contact.’    Only then ‘can such a shortcoming be properly thought

16    of as a city “policy or custom” that is actionable under

17    § 1983.’”    Id. (quoting Canton, 489 U.S. at 388).        The deliberate

18    indifference standard has been discussed thoroughly by the

19    Supreme Court:
20          “‘[D]eliberate indifference’ is a stringent standard of
            fault, requiring proof that a municipal actor
21          disregarded a known or obvious consequence of his
            action.” Thus, when city policymakers are on actual or
22          constructive notice that a particular omission in their
            training program causes city employees to violate
23          citizens' constitutional rights, the city may be deemed
            deliberately indifferent if the policymakers choose to
24          retain that program. The city's “policy of inaction”
            in light of notice that its program will cause
25          constitutional violations “is the functional equivalent
            of a decision by the city itself to violate the
26          Constitution.”
27                . . . [¶]
28          A pattern of similar constitutional violations by
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 1          untrained employees is “ordinarily necessary” to
            demonstrate deliberate indifference for purposes of
 2          failure to train. Policymakers' “continued adherence
            to an approach that they know or should know has failed
 3          to prevent tortious conduct by employees may establish
            the conscious disregard for the consequences of their
 4          action—the ‘deliberate indifference’—necessary to
            trigger municipal liability.” Without notice that a
 5          course of training is deficient in a particular
            respect, decisionmakers can hardly be said to have
 6          deliberately chosen a training program that will cause
            violations of constitutional rights.
 7

 8    Connick, 131 S. Ct. at 1360 (internal citations omitted) (citing

 9    Bd. of Cnty. Comm'rs of Bryan Cnty., Okl. v. Brown, 520 U.S. 397,

10    410 (1997); Canton, 489 U.S. at 395.).

11          In their fourth cause of action, Plaintiffs have also stated

12    claims against Kreins in his individual and official capacities.

13    First, since the City is named as a defendant on this cause of

14    action, naming Kreins in his official capacity is redundant.          The

15    Court hereby dismisses the claims brought against him in his

16    official capacity.     However, a supervisory official can be found

17    liable in his individual capacity if there is a sufficient nexus

18    between his own conduct and the constitutional violations

19    committed by subordinates.      The Ninth Circuit has addressed the

20    contours of the supervisory liability doctrine:

21          “Supervisory liability is imposed against a supervisory
            official in his individual capacity for his own
22          culpable action or inaction in the training,
            supervision, or control of his subordinates, for his
23          acquiescence in the constitutional deprivations of
            which the complaint is made, or for conduct that showed
24          a reckless or callous indifference to the rights of
            others.” Preschooler II v. Clark County Sch. Bd. of
25          Trustees, 479 F.3d 1175, 1183 (9th Cir. 2007) (quoting
            Menotti v. City of Seattle, 409 F.3d 1113, 1149 (9th
26          Cir. 2005)). In a section 1983 claim, “a supervisor is
            liable for the acts of his subordinates ‘if the
27          supervisor participated in or directed the violations,
            or knew of the violations of subordinates and failed to
28          act to prevent them.’” Preschooler II, 479 F.3d at
                                           12
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 1          1182 (quoting Taylor v. List, 880 F.2d 1040, 1045 (9th
            Cir. 1989)). “The requisite causal connection may be
 2          established when an official sets in motion a ‘series
            of acts by others which the actor knows or reasonably
 3          should know would cause others to inflict’
            constitutional harms.” Id. at 1183 (quoting Johnson v.
 4          Duffy, 588 F.2d 740, 743 (9th Cir. 1978)).

 5    Corales v. Bennett, 567 F.3d 554, 570 (9th Cir. 2009); see also

 6    Mackinney v. Nielsen, 69 F.3d 1002, 1008 (9th Cir. 1995) (“Under

 7    § 1983, a supervisor may be liable if there exists either ‘(1)

 8    his or her personal involvement in the constitutional deprivation

 9    or (2) a sufficient causal connection between the supervisor's

10    wrongful conduct and the constitutional violation.’”) (internal

11    citation omitted).

12                2.    Analysis

13          Defendants first argue that statistics reflecting the number

14    of shootings by police during the relevant time period cannot

15    support a finding the City had a policy or practice that violated

16    citizens’ rights without a finding that the shootings were

17    improper.    Monell MSJ at pp. 9-14.      Defendants are referencing

18    data relied on by Plaintiffs that between May 25 and October 21

19    of 2012 there were over 10 shootings involving the VPD, resulting

20    in 6 civilian deaths.      In addition, there were 3 shootings by

21    police in 2013.     All of these came after many years of few to no

22    shootings by police.      Defendants contend the inference drawn by

23    Plaintiffs’ expert, Franklin Zimring, and put forth by

24    Plaintiffs, is not reasonable.       Monell MSJ at p. 11.      Defendants

25    argue: “Without a connection between the statistics and a

26    violation of law, the mere happening of civilian fatalities

27    cannot prove the existence of a policy or custom to exercise

28    unlawful force.     Id.
                                           13
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 1          In their motion, Defendants rely extensively on Strauss v.

 2    City of Chicago, 760 F.2d 765, 768-69 (7th Cir. 1985).            In

 3    Strauss, the Seventh Circuit addressed statistical information

 4    offered by the plaintiff to support a Monell claim at the motion

 5    to dismiss stage.     760 F.2d at 768-69.     The plaintiff offered

 6    “statistical summaries from the Office of Professional Standards

 7    regarding complaints filed with the police department,” the

 8    Chicago Police Department.      Id.    The summaries indicated that the

 9    police department sustained only 6-7% of all registered
10    complaints for a three-year period from 1977-1979.          Id.    The
11    plaintiff argued this low percentage “‘must give rise to a

12    reasonble [sic.] man's suspicions that defendant Chicago's

13    methods of review are weighted to discourage positive findings.”

14    Id.   The court found the plaintiff’s reasoning “specious,” and

15    concluded:

16          the number of complaints filed, without more, indicates
            nothing. People may file a complaint for many reasons,
17          or for no reason at all. That they filed complaints
            does not indicate that the policies that [the
18          plaintiff] alleges exist do in fact exist and did
            contribute to his injury. [¶] At the very least [the
19          plaintiff] “would need to identify as well what it was
            that made those prior arrests * * * illegal and to show
20          that a similar illegality was involved in his case.”
21    Id. (quoting Ekergren v. City of Chicago, 538 F. Supp. 770, 773

22    (N.D. Ill. 1982)).

23          Defendants next argue that even if the Court considers the

24    “bare statistics regarding officer shootings or the ethnicity of

25    those shot, as a matter of law, Plaintiffs cannot show the

26    existence of a custom or practice in existence for a sufficient

27    duration to constitute evidence of a municipal policy.”            Monell

28    MSJ at pp. 13-14.     They argue this spike in shootings was an
                                            14
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 1    “anomaly, not a pattern” and could not constitute “evidence of

 2    repeated constitutional violations.”        Defendants point to the

 3    evidence that the internal investigations and reviews of these

 4    shootings did not find the conduct surrounding the shootings

 5    improper and that an investigation by the local district

 6    attorney’s office found no evidence of actionable conduct.            Id.

 7          Defendants next attack Plaintiffs’ claim on the basis of

 8    inadequate training, arguing Plaintiffs do not have sufficient

 9    evidence to support such a claim.         They argue that even if the
10    conclusions drawn by Plaintiffs from the document, entitled
11    “2013: The Year in Review,” is assumed to be true, it does not
12    support Plaintiffs’ claims.       The report indicates that VPD
13    members had not had internal training in the three years prior to
14    the report.    Defendants argue that even with no internal
15    training, there is no evidence this was “inadequate ‘in relation
16    to the tasks the particular officer must perform.’”           Monell MSJ
17    at pp. 14-15.    They also specifically contend that evidence of

18    Kenney’s involvement in three of the shootings in 2012 has no

19    nexus with a failure to train, let alone a nexus to wrongdoing.
20          This argument is persuasive in light of Plaintiffs’

21    inability to affirmatively show each of these shootings

22    constituted excessive force or a constitutional violation of some

23    sort.   Defendants’ reliance on their own investigations as well

24    as the United States Department of Justice’s determination that

25    the officers’ conduct was not appropriate for criminal

26    prosecution as proof of propriety carries little weight, since

27    clearly a different standard applies in these contexts.

28          The arguments put forth by Plaintiffs, both in their
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 1    opposition and at the hearing, focus primarily on establishing

 2    Monell liability based on a “failure to train” theory.

 3    Plaintiffs’ strongest argument is that a pattern of VPD officer’s

 4    resorting to lethal force began to form in Vallejo in the period

 5    immediately before the incident underlying this action.

 6    Plaintiffs argue that Kreins and the City should have detected

 7    the pattern of “shoot first, non-emergency police encounters”

 8    resulting in constitutional violations and deaths and that in

 9    response, they should have taken some action to avoid such
10    conduct in the future.      They argue the lack of discipline of the
11    officers and the lack of even small changes to the admittedly
12    inadequate training in response to these incidents supports their
13    Monell claim.
14          In order for Plaintiffs’ claims to go forward, the Court

15    would need to conclude that Kreins and the City’s response, or

16    lack thereof, tends to support they were deliberately indifferent

17    to the harm being caused and the risk that, without training or

18    adequate supervision, constitutional violations would occur in

19    the future.    Defendants’ main argument in response is that there
20    is no proof that any constitutional violations actually occurred

21    in the other shootings or events invoking complaints to the VPD.

22    It is clear that allowing a failure to train claim to go to the

23    jury based upon a single unconstitutional incident is improper.

24    See City of Canton, Ohio v. Harris, 489 U.S. 378, 399-400 (1989).

25          The evidence shows that Kreins had the authority and

26    responsibility to make policy changes and institute trainings

27    within the VPD.     Def. Resp. to Pl. SUF (Doc. #91-1) Facts 1-3.

28    Kreins testified that he reviewed general orders, policies and
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 1    procedures, staffing issues and the organization itself within

 2    the VPD after becoming police chief in July 2012, but that he

 3    took no action on this information from July 2012 to the date of

 4    the shooting underlying the claims in this case.          Id. Fact 5.

 5    Kreins also testified that when he entered the VPD as chief his

 6    view was that there were “some inadequacies with the training

 7    that was being given to the officers at that time.”           Kreins Depo.

 8    213:12-216:13. This was the result, at least in part, of a

 9    reduction in training over the four previous years.           SUF Fact 9.
10    The period of time during this reduction in training saw a string
11    of four shootings by police within a three-month period.
12          Kreins indicates that one training program, the “force-

13    options simulator,” would have been useful to Kenney and Joseph

14    when approaching the Thunderbird that night.          Kreins Depo.

15    213:12-216:13. The simulator presents scenarios to officers where

16    they are then required to decide whether to use verbal commands,

17    less lethal weapons, or lethal force.         Id.   It was not

18    implemented in VPD until 2013.        Id.   In addition, Plaintiffs’

19    expert, Zimring, discussed a laundry list of types of
20    preventative actions that a police chief wishing to reduce

21    “shoot-first policing” could take.          Zimring Declaration at pp.

22    21-22; SUF Fact 34.     Kreins testified that he reviewed all the

23    critical incident reports from 2012 for the VPD.          SUF Fact 7;

24    Monell Opp. at p. 8.      As a result of that review, Kreins did not

25    make any changes to any type of training at the VPD in response

26    to this information because there was no evidence of

27    constitutional violations.      Id.

28          Kreins also testified that he necessarily relied on
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 1    statistics in his position in order to identify trends and to

 2    analyze the conduct of officers under his command.          Kreins Depo.

 3    216:25-218:24. Kreins stated that he analyzed the VPD statistics

 4    and had an awareness of the relative statistics nationwide of

 5    officer-involved homicides.       Id.     The end result of his analysis

 6    was that he could not make “a conclusion based upon some

 7    generalities in numbers.”      Id.   He testified that he was “unable

 8    to tell” whether there was a higher level of police shootings in

 9    Vallejo than the national average, but did not take steps to find
10    out more or to improve upon the statistical analysis.           Id.
11    Zimring opined that the rate of police killings in Vallejo for

12    2012-2013 compared to the population generated a risk of death at

13    the hands of police well above that in larger cities such as New

14    York and in the country as a whole.           The VPD did not have a

15    policy of looking back at an officer’s previous complaints of

16    excessive force or other critical incidents they were involved in

17    when evaluating a specific critical incident.           Kreins Depo.

18    161:7-164:23.

19          Kreins was also asked at his deposition about a number of
20    incidents involving Kenney.       Kreins Depo. 218:25-226:20. Kreins

21    testified that when he met with his officers upon becoming chief,

22    he did not analyze all their case files.          Specifically, Kreins

23    admits that he did not even discuss the incidents found in

24    Kenney’s file when he sat down with him.          Id.   This includes the

25    killing of Anton Barrett, the Cooley excessive force complaint,

26    and a complaint from a minor’s father, all involving allegations

27    of misconduct on Kenney’s part.         Id.   Kreins believed that VPD

28    did not need to look at an officer’s previous complaints of
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 1    excessive force because he believed they had a strong

 2    understanding of a pattern for a particular officer and he was

 3    not aware of any trend involving excessive force.          Id.; SUF (Doc.

 4    #91-1) Fact 11.

 5          As regards discipline, Kreins testified that his personal

 6    interviews of Kenney and Joseph provided enough information on

 7    their own to return both of them to duty.         SUF, Fact 12.       In

 8    addition, VPD officers are referred to a marriage and family

 9    therapist instead of a licensed psychiatrist.          SUF Facts 17-21.
10          After a careful review of the above described extensive

11    record in this case and relevant case law, the Court concludes

12    that although there is evidence of some systemic issues within

13    the VPD, the evidence does not meet the extremely stringent legal

14    standards required for claims under Monell.

15          Although VPD officers shot and killed four people in the

16    span of just three months in the middle of 2012 and Defendants

17    deduced no pattern and made no changes in training in response,

18    there is insufficient evidence that any of the other shootings by

19    police resulted in constitutional violations.          In order for a
20    claim to succeed, Defendants must have been on “actual or

21    constructive notice that a particular omission in their training

22    program causes city employees to violate citizens' constitutional

23    rights.”    Connick, 131 S. Ct. at 1360 (internal citations

24    omitted).    As stated, “[a] pattern of similar constitutional

25    violations by untrained employees is ‘ordinarily necessary’ to

26    demonstrate deliberate indifference for purposes of failure to

27    train.”    Id.   In the instant case there is no evidence that VPD

28    officers committed other constitutional violations.
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 1          Plaintiffs argue that a reasonable jury could find that the

 2    total inaction of the City and Kreins in response to this uptick

 3    of police-involved shootings of civilians, and specifically the

 4    repeated incidents involving Kenney, showed a “deliberate

 5    indifference” to the constitutional rights of the people of

 6    Vallejo.    See Hunter, 652 F.3d at 1232-33, 1234 n.8; Connick, 131

 7    S. Ct. at 1359.     However, again, the unconstitutionality of these

 8    actions has not been proven.       The Court does note the difficult

 9    task facing Plaintiffs who wish to bring a claim for failure to
10    train.   As is evident by this case, the constitutionality of
11    police conduct is often not determined by an unbiased entity
12    until years after the conduct has occurred. Nevertheless, some
13    evidence of constitutional violations is required to maintain the
14    Monell claim in this case.
15          The Court also finds insufficient evidence to create a

16    genuine issue of material fact as to whether “a sufficient causal

17    connection between [Kreins’] alleged wrongful conduct and the

18    constitutional violation[s]” exists.        Mackinney v. Nielsen, 69

19    F.3d at 1008.    Although the evidence shows that Kreins’ inaction
20    may have been called into question in the face of repeated use of

21    lethal force by his officers against victims who either did not

22    have firearms or who at least did not fire them, there is a lack

23    of evidence that this resulted in constitutional violations.

24    Therefore, the Court also grants Defendants’ motion as to the

25    claim against Kreins in his individual capacity for supervisory

26    liability.

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 1                                 III.    ORDER

 2          For the reasons set forth above, the Court GRANTS

 3    Defendants’ motion for summary judgment on Plaintiffs Joseph

 4    Johnson and Cynthia Mitchell’s Monell claim set forth in the

 5    fourth cause of action of their Complaint

 6          IT IS SO ORDERED.

 7    Dated: April 14, 2015

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